

Burns v Foit-Albert Assoc., Architecture, Engg. &amp; Land Surveying, P.C. (2023 NY Slip Op 02240)





Burns v Foit-Albert Assoc., Architecture, Engg. &amp; Land Surveying, P.C.


2023 NY Slip Op 02240


Decided on April 28, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 28, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., CURRAN, OGDEN, AND GREENWOOD, JJ.


357 CA 22-01251

[*1]MICHELLE BURNS AND RICHARD S. BURNS, JR., PLAINTIFFS-APPELLANTS,
vFOIT-ALBERT ASSOCIATES, ARCHITECTURE, ENGINEERING AND LAND SURVEYING, P.C., DEFENDANT-RESPONDENT, ET AL., DEFENDANTS. (APPEAL NO. 3.) 






STEPHEN R. FOLEY, LLC, BUFFALO (ZACHARY S. DRAGONETTE OF COUNSEL), FOR PLAINTIFFS-APPELLANTS.
SUGARMAN LAW FIRM, LLP, BUFFALO (MARINA A. MURRAY OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (Donna M. Siwek, J.), entered February 8, 2022. The order granted the motion of defendant Foit-Albert Associates, Architecture, Engineering and Land Surveying, P.C. for summary judgment. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Supreme Court.
Entered: April 28, 2023
Ann Dillon Flynn
Clerk of the Court








